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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
_______________________________
                                  :
UNITED STATES OF AMERICA          :
                                  :    Hon. Claire C. Cecchi
             v.                   :
                                  :    Criminal No. 24-599 (CCC)
SEUNG HAN SHIN,                   :
a/k/a “Aaron Shin”                :

____________________________________

                      STIPULATED PROTECTIVE ORDER

      Upon the application of the United States of America, by Philip R. Sellinger,

United States Attorney (Shontae D. Gray, Assistant U.S. Attorney and Kevin V. Di

Gregory, Special Assistant U.S. Attorney appearing), and defendant Seung Han Shin,

a/k/a “Aaron Shin” (Michael D. Critchley, Esq. and Amy D. Luria, Esq., appearing),

for a protective order for pre-trial proceedings in the above-captioned criminal matter

(the “Protective Order”), pursuant to Rule 16(d)(1) of the Federal Rules of Criminal

Procedure, the Court finds and orders as follows:

      1.     Disclosure Material. The Government anticipated disclosing to the

defendant documents, objects and information as defined by Rule 16(a)(1)(A)-(F),

materials pursuant to 18 U.S.C. § 3500, and potential exculpatory or impeachment

material (“Disclosure Material”). The Disclosure Material produced pursuant to a

scheduling order determined by the Court, includes material that (i) affects the

privacy and confidentiality of individuals; and (ii) is not authorized to be disclosed

to the public or disclosed beyond that which is necessary for the defense of this

criminal case. Thus, the entry of a protective order is appropriate.
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      2.     Facilitation of Discovery. Entry of this Order permits the

Government to expeditiously produce the Disclosure Material without further

litigation or the need for redaction. It also affords the defense prompt access to

those materials, in unredacted form, facilitating the preparation of the defense.

      3.     Timing and Scope of Disclosures. Nothing in this Order changes

in any way the timing or scope of the Government’s discovery disclosure

obligations, and those disclosures remain governed by Rule 16, 18 U.S.C. § 3500,

and other statutory and constitutional authorities or any Orders of this Court.

      4.     Good Cause. There is good cause for entry of this protective order.

               5 day of __________,
IT IS on this ___       December 2024, ORDERED that:

      5.     Disclosure Material shall not be disclosed by defense counsel,

including any successor counsel (“the defense”) other than as expressly permitted

by this Order. Disclosure Material shall be used by the defense solely for purposes

of defending this action. The defense shall not disclose any Disclosure Material to

any third party except as expressly set forth below.

      6.     Disclosure Material may be disclosed by the defense only to:

             a.     The defendant, but counsel shall not permit the defendant to

retain copies of the Disclosure Materials unless such Disclosure Materials have

been redacted of personal identifying information or any information that would

reveal the identity of the individual referenced therein;




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               b.      Personnel for whose conduct counsel is responsible, i.e.,

personnel employed by or retained by counsel, as needed for purposes of defending

this action;

               c.      Prospective witnesses for purposes of defending this action, but

counsel shall not permit such individuals to possess or retain Disclosure Materials

or duplicate versions; and

               d.      Any Coordinating Discovery Attorney (“CDA”) appointed

pursuant to the Criminal Justice Act in this case, and any CDA employees and

vendors the CDA may engage in the course of their duties.

      7.       The Government may authorize, in writing, disclosure of Disclosure

Material beyond that otherwise permitted by this Order without further order of

this Court.

      8.       This Order does not prevent the disclosure of any Disclosure Material

in any hearing or trial held in this action, or to any judge or magistrate judge, for

purposes of this action. But if a party wishes to submit Disclosure Material to a

court in connection with a motion or application for relief, that party shall do so

pursuant to the same procedures used for sentencing materials, as outlined in the

District of New Jersey’s Protocol for Disclosure of Sentencing Materials (available

at https://www.njd.uscourts.gov/court-info/local-rules-and-orders. Under those

procedures:

               a. The Disclosure Material in question must be submitted directly to

                    the court and all counsel of record in the underlying prosecution;


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                 absent a court order, no Disclosure Material may be filed on the

                 Court’s Case Management/Electronic Case File System (“ECF”).

             b. The submitting party must file a contemporaneous notice on ECF

                 that Disclosure Materials have been submitted to the Court

                 pursuant to this protective order.

             c. Public access to the Disclosure Materials shall be governed by the

                 same procedure set forth in paragraphs two through five of the

                 District of New Jersey’s Protocol for Disclosure of Sentencing

                 Materials.

      9.     For any Disclosure Material made public, the publishing party must

comply with the provisions of Federal Rule of Criminal Procedure 49.1.

      10.    Counsel may use Disclosure Material at trial, subject to Rule 49.1 and

any other applicable law or rules. Disclosure Material introduced as exhibits at a

hearing or at trial are no longer subject to the restrictions set forth in this

Protective Order.

Disclosure and Protection Search Warrant ESI Disclosure Material

      11.    Certain Disclosure Material may be contained within electronically

stored information (“ESI”) that the Government has seized, pursuant to search

warrants issued during the investigation, from cell phones, devices, storage media,

and providers of electronic communications services and remote computer services

(including email, cloud storage providers, and other online services).

      12.    The Government is authorized to disclose to the defendant, defense


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counsel, and personnel for whose conduct counsel is responsible, i.e., personnel

employed by or retained by counsel (the “Defense Team”), for use solely as

permitted herein, the entirety of the ESI that was initially produced by a provider

or captured from a device pursuant to search warrant (the “ESI Disclosure”). The

Defense Team may review the ESI Disclosure to identify items material to the

defense. They shall not further disseminate or disclose any portion of the ESI

Disclosure except as otherwise set forth under this Order.

Return or Destruction of Material

      13.    Except for Disclosure Material that has been made part of the record

of this case, the defense shall return to the Government or securely destroy or

delete all Disclosure Material within 30 days of: (a) the expiration of the period for

direct appeal from any verdict in the above-captioned case; (b) the expiration of the

period of direct appeal from any order dismissing any of the charges in the above-

captioned case; (c) the granting of any motion made on behalf of the Government

dismissing any charges in the above-captioned case; or (d) the issuance of an

opinion by an appellate court that terminates the case, whichever date is later.

      14.    The defense shall provide a copy of this Order to prospective

witnesses and persons retained by counsel to whom the defense has disclosed

Disclosure Material. All such persons shall be subject to the terms of this Order.

Defense counsel shall maintain a record of what Disclosure Material has been

disclosed to which such persons.

      15.    This Order is binding on all future and successor counsel.


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Retention of Jurisdiction

       16.    The provisions of this Order shall not terminate at the conclusion of

this criminal prosecution and the Court will retain jurisdiction to enforce this

Order following termination of the case.




                                        _____________________________
                                        HON. CLAIRE C. CECCHI
                                        United States District Judge
Consented to as to form and entry:


_/s/ Kevin V. Di Gregory__________
SHONTAE D. GRAY
Assistant U.S. Attorney
KEVIN V. DI GREGORY
Special Assistant U.S. Attorney


_________________________________
MICHAEL D. CRITCHLEY, ESQ.
AMY D. LURIA, ESQ.
 /s/ Michael Critchley
Counsel for Defendant




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